             Case 2:21-cv-00295-BJR Document 34 Filed 11/29/21 Page 1 of 3




 1                                             THE HONORABLE BARBARA J. ROTHSTEIN

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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10 FRANSSEN CONDOMINIUM
   ASSOCIATION OF APARTMENT
11 OWNERS, a Washington non-profit                   No.: 2:21-cv-00295-BJR
   corporation,
12
                      Plaintiff,
13                                                   STIPULATED MOTION CONTINUING
          v.                                         PRETRIAL DEADLINES
14
   COUNTRY MUTUAL INSURANCE
15 COMPANY, an Illinois company;
   FARMINGTON CASUALTY COMPANY, a
16 Connecticut company; THE TRAVELERS
   INDEMNITY COMPANY, a Connecticut
17 company; THE TRAVELERS INDEMNITY
   COMPANY OF AMERICA, a Connecticut
18 company; and TRAVELERS CASUALTY
   INSURANCE COMPANY OF AMERICA, a
19 Connecticut company,

20                        Defendants.
21                                          STIPULATION
22         Due to complications arising from the COVID-19 Pandemic, Plaintiff Franssen

23 Condominium Association of Apartment Owners and Defendants Country Mutual Insurance

24 Company, Farmington Casualty Company, The Travelers Indemnity Company, The

25 Travelers Indemnity Company of America, and Travelers Casualty Insurance Company of

26 America (collectively, the “Parties”) respectfully request a short extension of certain case

     STIPULATED MOTION CONTINUING PRETRIAL DEADLINES                 PAGE 1    Bullivant|Houser|Bailey PC
     NO.: 2:21-CV-00295-BJR                                                    925 Fourth Avenue, Suite 3800
                                                                               Seattle, Washington 98104
                                                                               Telephone: 206.292.8930
              Case 2:21-cv-00295-BJR Document 34 Filed 11/29/21 Page 2 of 3




 1 deadlines in this lawsuit. The requested extensions should not impact the trial date.

 2         Plaintiff retained Jens Johanson and/or Jim Kessler of J2 Building Consultants as an

 3 expert regarding damage, causation, and repairs. Plaintiff recently advised Defendants that

 4 both Mr. Johanson and Mr. Kessler are recovering from COVID-19 and, thus, need
 5 additional time to comply with the current expert disclosure deadline. As a result, the Parties

 6 do not anticipate being able to meet the current discovery deadlines set by the Order Setting
 7 Trial Dates and Related Dates (Dkt. 24). To ensure adequate time and opportunity for the

 8 Parties to conduct sufficient discovery without endangering the health of themselves, their

 9 employees, attorneys, and the public at large, the Parties jointly request a short continuance

10 of certain pretrial deadlines.

11         Due to the above facts, the Parties believe that there is good cause under Federal Rule

12 of Civil Procedure 6(b) and Local Civil Rule 10(g) for a continuance of certain pretrial

13 deadlines. The Parties do not believe that their requested changes to pretrial deadlines will
14 require rescheduling the trial.

15         Consequently, the Parties, through their counsel, stipulate to the following proposed

16 extensions of the deadlines in the Court’s Order Setting Trial Dates and Related Deadlines
17 (Dkt. 24):

18                        Event                          Original Deadline        New Deadline
19   Reports from expert witnesses under FRCP           November 22, 2021      December 6, 2021
     26(a)(2) due
20
     Rebuttal expert disclosures                        None                   January 5, 2022
21
     Expert deposition cutoff                           None                   February 4, 2022
22
     Dispositive motion cutoff                          January 21, 2022       February 11, 2022
23
     Discovery completed by                             December 22, 2021      February 25, 2022
24
     All motions in limine must be filed by             May 16, 2022           May 16, 2022
25
     Joint Pretrial Statement                           May 23, 2022           May 23, 2022
26

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             Case 2:21-cv-00295-BJR Document 34 Filed 11/29/21 Page 3 of 3




 1   Pretrial conference                             June 6, 2022            June 6, 2022
 2   Jury Trial Date                                 June 20, 2022           June 20, 2022
 3   Length of Jury Trial                            7-10 days               7-10 days
 4
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           DATED this 29th day of November, 2021.
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 8                                                  _______________________________
 9                                                  BARBARA J. ROTHSTEIN
                                                    UNITED STATES DISTRICT JUDGE
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     STIPULATED MOTION CONTINUING PRETRIAL DEADLINES                PAGE 3   Bullivant|Houser|Bailey PC
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